Case 1:13-cv-03570-NGG-CLP Document 26 Filed 03/13/14 Page 1 of 1 PageID #: 73




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
________________________________________

MORDECHAI PINSON on behalf of himself and                       Index# 1:13-cv-03570-NGG-CLP
all other similarly situated consumers
                                                                STIPULATION OF
                                Plaintiff,                      DISMISSAL

                -against-

GC SERVICES LIMITED PARTNERSHIP

                        Defendant.
________________________________________

        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the

attorneys for the parties to the above-entitled action, that whereas no party hereto is an infant,

incompetent person for whom a committee has been appointed or conservatee, and or person not a

party has an interest in the subject matter of the action, the above-entitled action be, and the same

hereby is discontinued with prejudice as to defendant without costs to either party as against the

other. This stipulation may be filed without further notice with the Clerk of the Court.

Dated: Brooklyn, New York                               Dated: New York, New York
       March 13, 2014                                          March 13, 2014


_/s/ Maxim Maximov____________                          _/s/ Concepcion A. Montoya_________
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